   Case 23-15511-JKS               Doc 23 Filed 08/19/23 Entered 08/20/23 00:15:16                               Desc Imaged
                                        Certificate of Notice Page 1 of 3
Form 148 − ntcdsmcs

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                         Case No.: 23−15511−JKS
                                         Chapter: 11
                                         Judge: John K. Sherwood

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Melrays, Inc.
   45 Ridge Road
   North Arlington, NJ 07031
Social Security No.:

Employer's Tax I.D. No.:
  22−1914004

                                    NOTICE OF ORDER DISMISSING CASE


      NOTICE IS HEREBY GIVEN that an Order Dismissing the above captioned Case was entered on 8/17/23.

      Any discharge which was granted in this case is vacated. All outstanding fees to the Court incurred by the
dismissed debtor(s) are due and owing and must be paid within seven (7) days from the date of this Order.
      This dismissal may mean that the debtor is ineligible to file another bankruptcy petition for 180 days under 11
U.S.C. § 109(g).




Dated: August 17, 2023
JAN: zlh

                                                                      Jeanne Naughton
                                                                      Clerk
       Case 23-15511-JKS                    Doc 23 Filed 08/19/23 Entered 08/20/23 00:15:16                                              Desc Imaged
                                                 Certificate of Notice Page 2 of 3
                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 23-15511-JKS
Melrays, Inc.                                                                                                          Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Aug 17, 2023                                               Form ID: 148                                                               Total Noticed: 8
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 19, 2023:
Recip ID                 Recipient Name and Address
db                     + Melrays, Inc., 45 Ridge Road, North Arlington, NJ 07031-6392
519956303              + 100 Mile Northeast, LLC, 570 Sylvan Avenue, Englewood Cliffs, NJ 07632-3132
519980902              + JNG Capital LLC, c/o Zachter PLLC, 2 University Plaza, Suite 205, Hackensack, NJ 07601-6211
519956304                NJ Taxation, PO Box 900, Trenton, NJ 08646-0900
519976193              + State of New Jersey, Division of Taxation Bankruptcy, PO Box 245, Trenton, NJ 08695-0245

TOTAL: 5

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
smg                       EDI: IRS.COM
                                                                                        Aug 18 2023 00:24:00      Dist Dir of IRS, Insolvency Function, PO Box 724,
                                                                                                                  Springfield, NJ 07081-0724
smg                       Email/Text: usanj.njbankr@usdoj.gov
                                                                                        Aug 17 2023 20:42:00      U.S. Attorney, 970 Broad St., Room 502, Rodino
                                                                                                                  Federal Bldg., Newark, NJ 07102-2534
smg                    + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                        Aug 17 2023 20:42:00      United States Trustee, Office of the United States
                                                                                                                  Trustee, 1085 Raymond Blvd., One Newark
                                                                                                                  Center, Suite 2100, Newark, NJ 07102-5235

TOTAL: 3


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
519980860        *+            Department of Treasury, Internal Revenue Service, P O Box 7346, Philadelphia, PA 19101-7346

TOTAL: 0 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 19, 2023                                            Signature:           /s/Gustava Winters
       Case 23-15511-JKS                  Doc 23 Filed 08/19/23 Entered 08/20/23 00:15:16                                       Desc Imaged
                                               Certificate of Notice Page 3 of 3
District/off: 0312-2                                              User: admin                                                            Page 2 of 2
Date Rcvd: Aug 17, 2023                                           Form ID: 148                                                          Total Noticed: 8



                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 17, 2023 at the address(es) listed
below:
Name                             Email Address
Brian Patrick Matthews
                                 on behalf of Creditor 100 Mile Northeast LLC bmatthews@coleschotz.com

Fran B. Steele
                                 on behalf of U.S. Trustee U.S. Trustee Fran.B.Steele@usdoj.gov

Mercedes Diego
                                 on behalf of Debtor Melrays Inc. md@njlawfirm.com, jwh@njlawfirm.com

Michael R. Yellin
                                 on behalf of Creditor 100 Mile Northeast LLC myellin@coleschotz.com, fpisano@coleschotz.com;dhilcher@coleschotz.com

Scott S. Rever
                                 on behalf of Trustee Scott S. Rever srever@genovaburns.com
                                 srever@ecf.inforuptcy.com;dmendez@genovaburns.com;dmendez@ecf.inforuptcy.com

Scott S. Rever
                                 srever@wjslaw.com

U.S. Trustee
                                 USTPRegion03.NE.ECF@usdoj.gov


TOTAL: 7
